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                                        In the
              United States Court of Appeals
                         For the Seventh Circuit
                             ____________________

         Nos. 23-2992, 23-2993, 23-2994, 23-2995, 23-2996, 23-2997, 23-
         2998, 23-2999, 23-3000, 23-3001, 23-3002 & 23-3003
         KEELY ROBERTS, et al.,
                                                          Plaintiffs-Appellees,

                                          v.

         SMITH & WESSON BRANDS, INC.; SMITH & WESSON SALES
         COMPANY; and SMITH & WESSON, INC.,
                                            Defendants-Appellants.
                             ____________________

                 Appeals from the United States District Court for the
                   Northern District of Illinois, Eastern Division.
                  Nos. 22-cv-6186 et al. — Steven C. Seeger, Judge.
                             ____________________

                ARGUED APRIL 4, 2024 — DECIDED APRIL 8, 2024
                         ____________________

            Before EASTERBROOK, HAMILTON, and KOLAR, Circuit
         Judges.
            EASTERBROOK, Circuit Judge. On July 4, 2022, Robert Eu-
         gene Crimo III opened ﬁre on a parade in Highland Park, Illi-
         nois. Perched on a rooftop, Crimo sprayed 83 bullets into the
         crowd, killing seven people and wounding 48 others. He used
         a Smith & Wesson M&P15 riﬂe with three 30-round
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         magazines. The M&P15 (for “Military & Police”) is a deriva-
         tive of Colt’s AR-15 riﬂe, a cousin to the M16 machine gun.
             Multiple consolidated suits, ﬁled by some of the victims
         (or their estates), seek to recover damages under Illinois law
         from Crimo, his father (Robert Eugene Crimo Jr.), the gun
         shops where Crimo acquired the riﬂe, magazines, and ammu-
         nition, and the riﬂe’s manufacturer and corporate aﬃliates.
         The legal theories advanced against Smith & Wesson rest on
         state tort law plus the Illinois Consumer Fraud and Deceptive
         Business Practices Act, 815 ILCS 505/1 to 505/12, and the Illi-
         nois Uniform Deceptive Trade Practices Act, 815 ILCS 510/1
         to 510/7. The complaints assert (among other things) that
         Smith & Wesson should not have oﬀered the M&P15 to civil-
         ians, because it is a machine gun reserved for police and mil-
         itary use under 18 U.S.C. §922(b)(4) and 26 U.S.C. §5845(b),
         and that if the civilian sale of the M&P15 is lawful the manu-
         facturer still is liable because the weapon was advertised in a
         way that made it ajractive to irresponsible persons (espe-
         cially the young) seeking to do maximum damage in mini-
         mum time.
             After the mass shooting, the State of Illinois and many mu-
         nicipalities enacted laws forbidding the sale of AR-15 style ri-
         ﬂes and large-capacity magazines to civilians and regulating
         those already in private hands. Addressing a contention that
         those laws violate the Constitution’s Second Amendment, we
         held that preliminary injunctive relief is inappropriate. Bevis
         v. Naperville, 85 F.4th 1175 (7th Cir. 2023). Proceedings on re-
         mand are ongoing. Those statutes and the Second Amend-
         ment do not majer to the current litigation.
             The three Smith & Wesson entities ﬁled notices of removal
         to federal court, asserting that the victims’ claims arise under
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         federal law. 28 U.S.C. §1441. The gun shops consented to re-
         moval. But the two Crimos, though they are the principal as-
         serted wrongdoers, neither ﬁled their own notices of removal
         nor consented to Smith & Wesson’s. This led the plaintiﬀs to
         move for remand, observing that 28 U.S.C. §1446(b)(2)(A) re-
         quires the consent of all defendants in order to remove under
         §1441(a). What’s more, plaintiﬀs asserted, their suits arose ex-
         clusively under state law, for it is Illinois law that creates the
         claim for relief. See American Well Works Co. v. Layne & Bowler
         Co., 241 U.S. 257, 260 (1916).
             Smith & Wesson oﬀered two responses. First, it insisted
         that removal rests on its status as an entity “acting under” a
         federal oﬃcer for the purpose of 28 U.S.C. §1442(a)(1), a stat-
         ute that allows removal whether or not other defendants elect
         to be in federal court. Second, it contended that removal is au-
         thorized by §1441(c) rather than §1441(a), and a removal un-
         der §1441(c) is exempt from the all-defendant-consent re-
         quirement. See 28 U.S.C. §1441(c)(2). Smith & Wesson recog-
         nized that federal defenses—whether the contention that the
         M&P15 is not a machine gun or the defense under the Protec-
         tion of Lawful Commerce in Arms Act, 15 U.S.C. §§ 7901–03—
         do not allow removal, but it insisted that a federal issue is em-
         bedded in the state-law claim and so may be removed under
         the approach of Grable & Sons Metal Products, Inc. v. Darue En-
         gineering & Manufacturing, 545 U.S. 308 (2005).
            The district judge was not persuaded by either line of ar-
         gument and remanded the cases to state court. 2023 U.S. Dist.
         LEXIS 170943 (N.D. Ill. Sept. 25, 2023). Normally 28 U.S.C.
         §1447(d) blocks appellate review of remand orders, but
         §1447(d) has an exception for cases removed under §1442. If a
         defendant has invoked §1442, then an appeal presents a
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         challenge to the remand order as a whole, permijing appel-
         late review of theories in addition to §1442. See BP p.l.c. v. Bal-
         timore, 141 S. Ct. 1532 (2021); Lu Junhong v. Boeing Co., 792 F.3d
         805, 811 (7th Cir. 2015). We therefore must consider Smith &
         Wesson’s arguments under both §1442 and §1441(c), and we
         do so in that order. (The gun shops have not joined Smith &
         Wesson’s appeals. We do not discuss them further.)
             Watson v. Phillip Morris, 551 U.S. 142 (2007); Lu Junhong v.
         Boeing, supra; and Martin v. Petersen Health Operations, LLC, 37
         F.4th 1210 (7th Cir. 2022), all hold that being subject to federal
         regulation diﬀers from acting under a federal agent for the
         purpose of 28 U.S.C. §1442(a)(1). Watson stated that “the fact
         that a federal regulatory agency directs, supervises, and mon-
         itors a company’s activities in considerable detail” does not
         satisfy §1442. 551 U.S. at 145. Smith & Wesson is subject to a
         great deal of federal regulation, but it is hard to see any dif-
         ference between its situation and that of tobacco producers in
         Watson or airframe manufacturers in Lu Junhong.
             Smith & Wesson tells us that the Bureau of Alcohol, To-
         bacco, and Firearms (ATF) refers to manufacturers as its
         “partners” and to the system of regulation as a “partnership”,
         but this snippet of bureaucratese does not change the nature
         of the relation between regulator and regulated. Congress and
         ATF set requirements; weapons manufacturers must dance to
         their tune. Lu Junhong held that a manufacturer that has been
         allowed to self-certify compliance with federal rules does not
         become a federal actor or agent; Smith & Wesson lacks any
         self-certiﬁcation power and acts wholly as a private entity that
         must comply with federal (and state) regulation. ATF may lis-
         ten respectfully to manufacturers’ arguments, as judges listen
         respectfully to lawyers, but in the end the agency and the
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         judges make decisions without implying that the manufactur-
         ers or lawyers “act under” their auspices.
             Federal regulations are pervasive. Airframe manufactur-
         ers (Lu Junhong), cigareje producers (Watson), and medical
         providers (Martin) must comply with innumerable rules and
         regulations. So must drug producers (regulated by the Food
         and Drug Administration), chicken farmers (regulated by the
         Department of Agriculture), auto manufacturers (regulated
         by several federal agencies), and makers of pesticides (regu-
         lated by the Environmental Protection Agency). The list is
         easy to extend. Chicken farmers whose birds lay eggs that
         contain salmonella, drug producers whose products are inad-
         equately tested, auto manufacturers whose brake systems
         fail—these and many more are regularly sued in state court
         under state law. They may remove under 28 U.S.C. §1332 and
         §1441 if the parties are of diverse citizenship, but it is incon-
         ceivable that the existence of federal regulation would allow
         removal as §1442 is wrijen—whether or not a given agency
         refers to the objects of regulation as its “partners.”
             Watson stated that a business might be “acting under” a
         federal oﬃcer if the oﬃcer commanded it or contracted with
         it to produce a particular item in a speciﬁed way. 551 U.S. at
         153–54. Cf. Boyle v. United Technologies Corp., 487 U.S. 500
         (1988). But Smith & Wesson does not contend that ATF di-
         rected it to make any AR-15 style weapon or compelled it to
         include in the M&P15 the rapid-ﬁre features that Crimo’s vic-
         tims call wrongful. Nor does Smith & Wesson contend that
         ATF directed it to advertise the M&P15 in the way that it did.
         Those choices were Smith & Wesson’s. That is some distance
         from “acting under” the ATF.
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             This brings us to §1441. Normally federal-question re-
         moval, including the embedded-federal-issue variety dis-
         cussed in Grable, proceeds under §1441(a), which allows the
         removal of all suits over which federal courts have original
         jurisdiction. Claims arising under federal law support juris-
         diction, see 28 U.S.C. §1331, so §1441(a) permits their re-
         moval—if all defendants consent. 28 U.S.C. §1446(b)(2)(A).
            Smith & Wesson relies on §1441(c), a subsection that deals
         with multi-claim suits in which some claims arise under fed-
         eral law and some under state law. Here’s the language:
             (1) If a civil action includes—
                 (A) a claim arising under the Constitution, laws, or treaties of
                 the United States (within the meaning of section 1331 of this
                 title), and
                 (B) a claim not within the original or supplemental jurisdic-
                 tion of the district court or a claim that has been made nonre-
                 movable by statute,
             the entire action may be removed if the action would be remova-
             ble without the inclusion of the claim described in subparagraph
             (B).
             (2) Upon removal of an action described in paragraph (1), the dis-
             trict court shall sever from the action all claims described in para-
             graph (1)(B) and shall remand the severed claims to the State court
             from which the action was removed. Only defendants against
             whom a claim described in paragraph (1)(A) has been asserted are
             required to join in or consent to the removal under paragraph (1).

         As Smith & Wesson sees things, the state suits present at least
         two “claims”—that the M&P15 is a machine gun and that it
         was improperly advertised. The ﬁrst of these arises under fed-
         eral law as Grable understands §1331, the argument goes, and
         so may be removed without the Crimos’ consent, even if the
         advertising claim must be remanded under §1441(c)(2). The
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         district court rejected this contention because it thought that
         none of plaintiﬀs’ theories comes within Grable. We reject it
         for a more fundamental reason: the state suits do not present
         multiple claims against Smith & Wesson.
            Its invocation of §1441(c)(1) depends on a belief that each
         legal theory is a separate “claim”. That belief is incorrect. As
         we explained in St. Augustine School v. Underly, 78 F.4th 349,
         352 (7th Cir. 2023):
            We [must honor] the distinction between a legal claim and a the-
            ory supporting relief (what the common law used to call a cause
            of action). A claim is the set of operative facts that produce an as-
            sertable right in court and create an entitlement to a remedy. A
            theory of relief is the vehicle for pursuing the claim; it may be
            based on any type of legal source, whether a constitution, statute,
            precedent, or administrative law. The speciﬁc theory dictates
            what the plaintiﬀ needs to prove to prevail on a claim and what
            relief may be available. One lawsuit may raise multiple claims,
            and each claim may be supported by multiple theories.

         The core claim in these suits is that Crimo killed and injured
         multiple persons. Crimo’s father and the other defendants
         may bear secondary liability for their roles in facilitating his
         acts. But the complaint does not state separate “claims”—one
         for selling a machine gun and another for selling the M&P15
         using inappropriate messages. Those are instead separate le-
         gal theories, which may imply separate methods of proof but
         do not multiply the number of claims. That lawyers often set
         out each legal theory in a separate “count” of a complaint
         does not multiply the number of claims.
            One way to see this is to consider the law of claim preclu-
         sion (res judicata). For the moment forget about the claim
         against Crimo. Suppose that one of Crimo’s victims had sued
         Smith & Wesson on an allegation that the M&P15 is a machine
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         gun, lost, and then ﬁled a second suit contending that Smith
         & Wesson is liable for the way it advertised the M&P15. A
         court would not entertain the second suit. It would instead
         rule that the plaintiﬀ must present all legal theories in one
         suit. See Restatement (Second) of Judgments §19. The court
         would add something along the lines of: “the claim extin-
         guished includes all rights of the plaintiﬀ to remedies against
         the defendant with respect to all or any part of the transaction,
         or series of connected transactions, out of which the action
         arose.” Restatement (Second) of Judgments §24(1). See also
         Svendsen v. PriQker, 91 F.4th 876 (7th Cir. 2024) (discussing the
         law of claim splijing in Illinois).
            The “transaction” at issue in the state suits is the mass
         shooting at the parade; Smith & Wesson’s role was furnishing
         an M&P15 to Crimo through the gun shops (with his father’s
         aid). Whether the legal wrong, if any, lies in the weapon’s de-
         sign or its promotional campaign does not multiply the num-
         ber of transactions or allow sequential suits. This means that
         plaintiﬀs have only one “claim” against Smith & Wesson.
             One ﬁnal observation. Both this court in Lu Junhong and
         the Supreme Court in BP v. Baltimore recognized that ajempt-
         ing to remove under §1442 would be ajractive to many de-
         fendants who sought to sidestep the need for all defendants’
         consent or wanted to obtain appellate review of any remand
         order. The Justices also saw that, when defendants yield to the
         incentive to misuse §1442 to get around §1447(d) and
         §1446(b)(2)(A), litigation will be delayed and become need-
         lessly costly—other things that defendants may hope to
         achieve. Baltimore asked the Court to curtail those incentives
         by giving the statute a strained reading. The Justices replied
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         that sejing policy is for Congress, not the judiciary, but
         added:
            Nor is it as if Congress has been blind to the City’s concerns. As
            the City itself acknowledges, thanks to §1447(c) a district court
            may order a defendant to pay the plaintiﬀ’s costs and expenses
            (including a[orney’s fees) if it frivolously removes a case from
            state court. Additionally, the Federal Rules of Civil Procedure al-
            low courts to sanction frivolous arguments made in virtually any
            context. Rules 11(b)–(c). Congress, thus, has already addressed
            the City’s concerns in other statutes and rules—just not in
            §1447(d).

         141 S. Ct. at 1542–43 (emphasis in original). See also Martin v.
         Franklin Capital Corp., 546 U.S. 132, 141 (2005) (fee shifting is
         appropriate if removal lacked a reasonable basis). The district
         judge should consider whether Smith & Wesson must reim-
         burse the plaintiﬀs’ costs and fees occasioned by the unjusti-
         ﬁed removal and appeal.
            The remand decision is aﬃrmed. The case is remanded to
         the district court to consider acting under 28 U.S.C. §1447(c)
         and other sources of authority.
